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9    Counsel for Debtor and Debtor in Possession,
     Vestavia Hills, Ltd., dba Mount Royal Towers
10
11                     UNITED STATES BANKRUPTCY COURT
12                     SOUTHERN DISTRICT OF CALIFORNIA
13   In re                                      CASE NO. 20-00018-LA11
14   VESTAVIA HILLS, Ltd., dba Mount            Chapter 11
     Royal Towers,
15                                              DEBTOR’S EX PARTE
                       Debtor.                  APPLICATION FOR ISSUANCE OF
16                                              AN ORDER TO SHOW CAUSE RE:
                                                CONTEMPT OF COURT’S ORDER
17                                              APPROVING SALE OF ESTATE
                                                PROPERTY, HOLDING CERTAIN
18                                              PARTIES AND THEIR COUNSEL IN
                                                CONTEMPT, SANCTIONS, AND
19                                              OTHER APPROPRIATE RELIEF
20                                              Date:       None required
                                                Time:       None required
21
                                                Ctrm:       2
22                                              Judge:      Hon. Louise DeCarl Adler
                                                United States Bankruptcy Court
23
                                                325 West “F” Street
24                                              San Diego, CA 92101-6991
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1                                     EX PARTE APPLICATION
2                Vestavia Hills, Ltd., dba Mount Royal Towers (“Debtor”), the debtor and
3    debtor in possession herein, submits this ex parte application (“Application”)
4    requesting that this Court issue an order to show cause against Commonwealth
5    Assisted Living, LLC, Series E (“Commonwealth”), MCAP Vestavia, LLC
6    (“MCAP”), and their principals and their attorneys, and each of them, for violating
7    this Court’s order (ECF #381) approving the sale of the Debtor’s Mount Royal
8    Towers facility and related business assets, and for interfering with the sale parties’
9    efforts to close the sale, and accordingly to show cause why they, and each of them,
10   should not be held in civil contempt for their past and continued acts of interference,
11   and ordered to pay damages to the Debtor by way of an award of attorneys’ fees and
12   costs that Commonwealth, MCAP, and their principals and attorneys, and each of
13   them, have caused the Debtor to incur, in an amount subject to proof, and for any and
14   all such other and further relief and sanctions this Court may deem just and proper.
15               This Application has been made necessary because of the following facts:
16               As this Court is aware, the sale of the Debtor’s Mount Royal Towers facility
17   and related business assets to MED Healthcare (“MED”) was ultimately approved at
18   the hearing conducted on July 30, 2020, over the objections of Commonwealth and its
19   unsuccessful attempts to sidetrack the sale by presenting a non-conforming, non-
20   compliant “overbid” by its affiliated entity, MCAP. Not surprising to the Debtor,
21   given pre-petition litigation that precipitated this Chapter 11 case, and which
22   continued into the early days of this case, the sale process was not without its own
23   issues: on July 16, 2020, Commonwealth Assisted Living LLC, Series EE
24   (“Commonwealth”) filed its objections to the proposed sale as well as significant
25   additional pleadings.
26               Ultimately, this Court overruled those objections, found that the
27   Commonwealth “overbid” by its affiliate, MCAP, did not qualify, and approved the
28   sale to MED Healthcare. See ECF #381. See also ECF #399 and supporting

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1    documents filed October 30, 2020 (Debtor’s Third Motion to Extend Exclusivity), and
2    ECF #401 (Debtor’s state report filed November 5, 2020) for further details on these
3    events.
4                As set forth in those pleadings (ECF #s 399 and 401), once again
5    Commonwealth is interfering with the orderly sale process, and its and MCAP’s
6    blocking activities in Alabama relating to issuance of the 113 SCALF Certificate of
7    Need (“CON”) beds which ultimately should be awarded and delivered to MED will
8    greatly impact how much time it will take to close the sale of assets to MED. While
9    Commonwealth did not appeal the sale order, it has undertaken other actions to
10   undermine, thwart and delay the sale process–this time, most recently in Alabama.
11   Specifically, the Debtor has encountered opposition from Commonwealth and its
12   affiliate, MCAP, in connection with regulatory agency approvals needed to transfer to
13   MED Healthcare, the CON for the 113 SCALF beds at Mount Royal Towers pending
14   before the State Health Planning and Development Agency of the State of Alabama
15   (“SHPDA”). Commonwealth, through its MCAP affiliate, has filed pleadings and
16   advanced arguments before SHPDA to the effect that MCAP (Commonwealth) still
17   has an independent and viable right to purchase Mount Royal Towers and thereby the
18   CON for the 113 SCALF beds. Commonwealth’s and MCAP’s allegations in this
19   regard are patently false. Those SCALF beds are (i) property of the estate; (ii) part of
20   the bundle of rights that MED is purchasing, and (iii) necessary for MED to obtain the
21   appropriate licensing. See ECF #399 for the discussion regarding the importance of
22   the licensing requirement.
23               Notwithstanding the rejection of the March 2018 pre-petition purchase
24   agreement between Commonwealth and the Debtor, and the two court orders
25   approving and ordering that rejection, Commonwealth and MCAP have nevertheless
26   continued to pursue their competing application for the same CON for the 113 beds
27   necessary to operate a SCALF in the Mount Royal Towers facility (i) on the
28   ephemeral basis that because it at one time had a contract to purchase Mount Royal

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1    Towers; and (ii) on the illusory basis that it might someday still make an offer to buy
2    Mount Royal Towers if MED Healthcare does not close on the sale. On those
3    specious grounds, MCAP (Commonwealth) contends it still has standing to pursue the
4    SCALF CON beds. Hunt Declaration (ECF #399-2), ¶¶ 7, 9, 10.
5                As set forth in the Supplemental Declaration of David Hunt dated
6    November 10, 2020 (ECF 403) (“Supplemental Hunt Declaration”), on Thursday
7    November 5, 2020, a hearing was held before the administrative law judge on
8    competing motions by Commonwealth/MCAP and by Summit/Vestavia to dismiss
9    each other’s CON applications. At the conclusion of the hearing, the administrative
10   law judge took all matters under submission. Supplemental Hunt Declaration, ¶ 5.
11   Thereafter, on Monday November 9, 2020, the administrative law judge issued his
12   decisions sustaining in all respects the arguments of Summit/Vestavia and denying
13   those of Commonwealth/MCAP. Attached to the Supplemental Hunt Declaration as
14   Exhibits “1” and “2” are true copies of the two decisions rendered by the judge in the
15   Alabama proceedings. Exhibit “1” is a true copy of the Order Regarding MCAP’s
16   Motion to Dismiss Hearing and Deny Application (Project AL 2020-012). In Exhibit
17   “1” the judge stated that “Intervenor MCAP’s motion to Dismiss Hearing and Deny
18   Application . . .is hereby DENIED.” Exhibit “2” is a true copy of the Recommended
19   Order for Contested Case Proceeding in case no. AL 2020-011. At page 5 of Exhibit
20   “2,” the administrative law judge states that “the application of MCAP Vestavia ALF,
21   LLC, Project No. Al 2020-011, seeking authority to purchase and then operate the 113
22   SCALF beds formerly operated by Vestavia . . . . is due to be, and is, DENIED.”
23               In reaching that conclusion, the administrative law judge hearing the
24   Vestavia/Summit motion to dismiss the competing Commonwealth/MCAP CON
25   application, and the competing Commonwealth/MCAP motion to dismiss the
26   Vestavia/Summit CON application, relied heavily on this Court’s decisions and orders
27   in the Chapter 11 case. See Exhibit “2” to the Supplemental Hunt Declaration:
28   “[t]here is no longer any dispute regarding the enforceability of the Contract–it is not

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1    enforceable. . . . On March 25, 2020, the bankruptcy court entered an order approving
2    Vestavia’s rejection of the Contract . . . MCAP/Commonwealth did not appeal or
3    contest Vestavia’s right to reject the Contract.” Exhibit “2,” p. 3. Thereafter, at pages
4    3 and 4 of Exhibit “2,” the administrative law judge acknowledged this Court’s
5    granting of the sale motion, its order denying MCAP/Commonwealth’s motion to be
6    accepted as a bidder, including as a backup bidder, and concluded that “MCAP can no
7    longer assert any right to purchase from Vestavia the 113 SCALF beds . . . and MCAP
8    is required to facilitate the sale of those beds by Vestavia to MED.” Exhibit “2,” p. 4.
9                The Debtor has spent a considerable amount of time and effort dealing with the
10   baseless assertions by Commonwealth and MCAP, through their counsel, of an
11   entitlement to a CON for the 113 SCALF beds at Mount Royal Towers. As Mr. Hunt
12   further states in his Supplemental Declaration, per SHPDA regulations MCAP is
13   permitted to appeal the administrative law judge’s order denying its CON application
14   (Exhibit 2) by filing written exceptions to the order with SHPDA within seven days of
15   the entry of the two orders. MCAP is also permitted to attempt to continue to oppose
16   Summit’s CON application. The administrative law judge has set a scheduling
17   conference for Wednesday, November 18, 2020, on Vestavia/Summit’s CON
18   application, and MCAP’s counsel has indicated that MCAP and its attorneys still
19   intend to participate in that scheduling conference. Supplemental Hunt Declaration, ¶
20   7. As a result, it is clear that Commonwealth and MCAP’s interference, and that of
21   their principals and attorneys, will continue unless this Court puts an end to that
22   contumacious conduct. In addition to the substantial expense incurred by the Debtor
23   in fighting Commonwealth’s and MCAP’s obstructionist tactics in Alabama, these
24   actions have resulted in a stalemate and have delayed process required for the issuance
25   of licenses or the right to acquire licenses for SCALF beds at Mount Royal Towers,
26   which are among the predicate steps to closing the sale to MED. See ECF 399-2, ¶¶
27   15, 17, and 18. All of this conduct is, in turn, delaying the ability to move forward to
28   close the sale to MED.

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1                Among other things, this Court’s sale approval order (ECF #381) provides as
2    follows:
3                6) Pursuant to Sections 363(b) and (f) of the Bankruptcy Code, the Debtor
                 and MED are hereby authorized and empowered to: (i) perform under,
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                 consummate, and implement the Agreement; (ii) execute all additional
5                instruments and documents which may be reasonably necessary or
                 desirable to implement the Agreement and the transaction contemplated
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                 thereby; (iii) take all further acts as may be necessary or appropriate for
7                the purposes of transferring, granting, or conveying the Assets to MED
                 pursuant to the provisions of the Agreement; (iv) take such other and
8
                 further acts as are contemplated by the Agreement or reasonably required
9                to fulfill the Debtor’s and MED’s obligations under the Agreement, all
                 without further order of this Court.
10
11               7) The transfer and sale of the Assets pursuant to this Order and the
12               Agreement shall vest MED with good title to the Assets, free and clear of
                 all Encumbrances (other than Permitted Encumbrances), Excluded
13               Liabilities and interests of any nature whatsoever, and any and all other
14               rights, claims and interests of any nature whatsoever that may be asserted
                 by any person or entity, including, without limitation, any entity asserting
15               a secured claim against the Assets. Any entity hereafter asserting such an
16               interest against the Assets shall be, and hereby is, forever barred from
                 asserting such interest against the Assets and against MED.
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18
                 11) MED shall have no liability to any creditor or to any other person or
19               entity as a purported successor to the Debtor. The consummation of the
20               transaction provided by the Agreement shall not subject MED to any debts,
                 liabilities, obligations, commitments, responsibilities or claims of any kind
21               or nature whatsoever, whether known or unknown, contingent or
22               otherwise, existing as of the date hereof or hereafter arising, of or against
                 the Debtor or any other person or entity by reason of such transaction,
23               including, without limitation, any debts, liabilities, obligations,
24               commitments, responsibilities or claims of any kind or nature whatsoever
                 based on successor or transferee liability.
25
26               12) All Persons are hereby enjoined from taking any actions against MED,
                 any Affiliate or assignee of MED, or the Assets to recover any claim that
27               such Person has against Seller relating in any way to the Debtor, the Assets
28               and/or the sale.
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1                19) The Debtor, MED, and all creditors, governmental units and other
                 parties-in-interest are bound by, and shall comply with, the provisions of
2
                 this Order and are hereby directed to take any and all acts appropriate to
3                facilitate the prompt consummation of the transaction approved hereby.
                         ....
4
5                22) This Court shall retain exclusive jurisdiction to (i) enforce and
                 implement the terms and provisions of the Agreement, (ii) compel the
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                 Debtor or MED to perform its respective obligations under the Agreement,
7                (iii) resolve any disputes, controversies or claims arising out of or relating
                 to the Agreement or the transaction contemplated thereby, and (iv)
8
                 interpret, implement and enforce the provisions of the Agreement and this
9                Order.
10   See ECF #381 entered August 31, 2020.
11               Commonwealth, MCAP, and their principals and their attorneys, have violated
12   several of the above-cited provisions of the sale approval order, and the Debtor
13   strongly believes that such violations are likely to continue. These actions are
14   delaying the sale parties from completing the necessary tasks required to close the
15   approved sale of Mount Royal Towers to MED, and are costing the Debtor, this
16   Chapter 11 estate, MED and the Debtor’s limited partners substantial damages. By
17   this Application, the Debtor is requesting that this Court issue an order to show cause
18   why Commonwealth, MCAP, and their principals and their attorneys, and each of
19   them, should not be held in civil contempt for this interference and for their knowing
20   violations of this Court’s orders, and to show cause why they should not be held liable
21   for damages payable to the Debtor, including for an award of damages to compensate
22   the Debtor for the substantial attorneys’ fees and costs that have been incurred and
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1    hereafter will be incurred in an amount subject to proof, and for any and all such other
2    and further relief and sanctions this Court may deem just and proper. A proposed
3    order to show cause is attached as Exhibit “A” hereto.
4
5     Dated:     November 10, 2020         SULLIVAN HILL REZ & ENGEL
                                           A Professional Law Corporation
6
                                                    /s/James P. Hill
7
                                                    James P. Hill, Esq.
8                                                   Sullivan Hill Rez & Engel, APLC
                                                    Counsel for Debtor,
9                                                   Vestavia Hills, Ltd.

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1     Exhibit                  Description                    Page(s)
2        A                    Proposed Order                             9–11

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                                 EXHIBIT “A”



                                                                    Exhibit A - Page 9
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           GRANTING DEBTOR’S EX PARTE APPLICATION FOR ISSUANCE OF AN ORDER
                    TO SHOW CAUSE RE: CONTEMPT OF COURT’S ORDER
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                                                                                                            Exhibit A - Page 10
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25'(5      GRANTING DEBTOR’S EX PARTE APPLICATION FOR ISSUANCE OF AN ORDER TO SHOW CAUSE RE: CONTEMPT OF COURT’S ORDER
'(%725VESTAVIA HILLS, LTD., dba Mount Royal Towers                                 &$6(12 20-00018-LA11
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The Court has considered the ex parte application (“Application”) (ECF #4__) of Vestavia Hills, Ltd. dba Mount Royal Towers
("Debtor"), the debtor and debtor in possession herein, for issuance of an Order to show cause against Commonwealth
Assisted Living, LLC, Series E (“Commonwealth”), MCAP Vestavia, LLC (“MCAP”), and their principals and their attorneys,
and each of them, for violating this Court’s order (ECF #381) approving the sale of the Debtor’s Mount Royal Towers facility
and related business assets, and for interfering with the parties’ efforts to close the sale, and accordingly to show cause why
they, and each of them, should not be held in civil contempt for their past and continued acts of interference, and ordered to
pay damages to the Debtor by way of an award of attorneys’ fees and costs that Commonwealth, MCAP, and their principals
and attorneys, and each of them, have caused the Debtor to incur, in an amount subject to proof, and for any and all such
other and further relief and sanctions this Court may deem just and proper.

Upon consideration of the Application and supporting documents, and good cause appearing therefore,

IT IS HEREBY ORDERED that the Application is hereby granted.

IT IS FURTHER ORDERED that a hearing will be held on ________________ 2020 at ____ __.m. in Department 2 of this
Court for determination whether Commonwealth Assisted Living, LLC, Series E (“Commonwealth”), MCAP Vestavia, LLC
(“MCAP”), and their principals and their attorneys, should be held in contempt of Court for violating this Court’s order (ECF
#381) approving the sale of the Debtor’s Mount Royal Towers facility and related business assets, and for interfering with the
parties’ efforts to close the sale, and accordingly to determine whether they, and each of them, should not be held in civil
contempt for their past and continued acts of interference, and ordered to pay damages to the Debtor by way of an award of
attorneys’ fees and costs that Commonwealth, MCAP, and their principals and attorneys, and each of them, have caused the
Debtor to incur, in an amount subject to proof, and for any and all such other and further relief and sanctions this Court may
deem just and proper.

IT IS FURTHER ORDERED that the Debtor shall serve this Order on all affected parties in interest by no later than
__________ 2020.

IT IS FURTHER ORDERED that any opposition to this order to show cause must be filed and served by no later than
________________________ 2020.

IT IS FURTHER ORDERED that any reply to any opposition to this order to show cause must be filed and served by no later
than _______________________ 2020.

IT IS SO ORDERED.




                                                                                              Exhibit A - Page 11
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